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           Michael           Rovin         Eva       Scroggins              TRUSTPILOT




                                                                                                                                                                                       Updated                 Jun     7, 2016
           Verified          order

           Total                RUINATION                                       of         ALL                MY                PROPERTY
           My       fiancee          and        I hired         this       company               to relocate                  us from             New          York       to New             Orleans.                We
           waited          for     weeks,            being          told      that     our      truck          was        delayed,               only         to find         out     that       the      entire
           contents             of that        truck          was      destroyed                in a fire.           The         company                 was         withholding                  with

           information,                 not       even         saying         whether              we    would                receive
                                                                                                                          a refund!     Then   we were                                                    given          hope
                                                                                                                             "Facetime"
           that     some          pieces          had        made          it through             the fire,   and set up a                    appointment,                                                           only      to
           be     shown           the      most        disgusting              pile       of     sludge     and rubbish--    The most      INSENSITVE                                                            thing
           I've     ever         experienced!


                                                                                                                         "coverage"
           The      company                conveniently                    never          mentioned                 a                                option           ( they        have          emphasized
           over       and        over      that       it's    NOT           insurance!),                but      somehow                    we      are       only      entitled            to    .60c         per
           POUND.                 So our          151b,         $1500          TV      is only          worth            $9,         apparently.                The      same          for       our      clothing
           and      furniture,             which             clearly        cost      more         and         .60c       /pound             could            ever      cover.


           To     this      date,       we      have          been         treated        poorly,             and       no      real        sense         of remorse                or compassion                        has
           been       displayed,                and      no      effort        has     been         made            to comfort                or appease                 this       terrible            wrong.


           I would           never,           EVER             use     this     company                 again,           and         have        made          a point          of telling               everyone              so.
           No one           should            lose      everything                 they        have,      in     such           a cold,            insensitive               manner.




           S. Williams              TRUSTPILOT




                                                                                                                                                                                                          May          5, 2016
           Verified          order

           Broken                    boxes,                    broken                     items,                loose                  items,                  missing                       items

           I took        my time               researching                 moving              companies                 and         negotiating                rates        with      the        more          reputable
           companies                like       Flatrate          because              I wanted            a good               moving              experience                but      did        not     want          to pay
           double          or triple           the      rates        I was       getting           elsewhere.                   I finally           booked              and      may         have         well         as
           gone       with        any       old       competitor               for     a cheaper               rate       because                the      quality         was         NOT             what       I was

           told     I would             get.      Multiple             boxes          arrived           torn        up        with         room         for     smaller          items           to     slip     through

           the     holes,         3 lamps             that      Flatrate           packed           were         all      damaged,                  random             items          were        delivered
           loose         (not     in boxes,              so who             knows          what         happened                 to those              boxes           and      the    rest        of     items         in

           them),         and       I am already                    missing           multiple            things.              Not         worth         the     premium               if this          is the
           service          you      get!




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           LRH        TRUSTPILOT




                                                                                                                                                                                     Apr        27, 2016
           Verified       order

           do       not         use          this
                                                         moving                      company
           I have       moved          approximately                      8 times        in the        past     using        moving               companies           and      FlatRate

           Moving            is hands         down          the     worst          moving            company              I have        ever       hired.      The    movers              did      over
           $2000        worth         of    damage           to my          furniture,          were          dishonest            when           confronted          with         the     fact        that

           they       damaged            my furniture,                and      seemed           deeply          disturbed               every       time     during          the    move           when
           I questioned             if they          were         exercising           appropriate                 care     in handling               my     belongings              (and

           unfortunately,                  my questioning                   was      well-placed               as evidenced                 by       the    damage           they        caused).
           To      make        matters        worse,         it was          not     an especially                 cheap          quote         either.     I would          never,         ever         use
           this     company            or recommend                    this        company.




           Samuel         Lee    TRUSTPILOT




                                                                                                                                                                                     Apr        18, 2016
           Verified       order

           Terrible                  Move                Experience                             --     Lost               Many                  Items,              Not        Helpful

           in
                   Locating                     and/or                Facilitating
                                                                                                              a Claim

           I have       had      a terrible           experience              with       FlatRate.            They         lost     ~30%           of my       belongings.                Since          that

           time,      they      have        been       unreachable.                  They      are     not      responding                to email          or phone           calls.       I have
           tried      following-up                  regarding          the     claims         process           and        am not         receiving            the    help     I need             to
           recover        my items             and/or           collect        the    value          of those         items.         I wouldn't             recommend                FlatRate.                I
           would        like     immediate               attention            to my         situation.          Thank             you     for     your      help.




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           Victoria        F TRUSTPILOT




                                                                                                                                                                                         Mar      29, 2016
           Verified         order

           Broke                  my        bed           and        no         customer                         service                    for       two              days!

           My       bed     was        incorrectly              assembled            by   the       movers             and     broke         that     night        while          it I was         in it!   It
           was      missing            several       bolts        and     the    slats       were         not        screwed          down          properly.            I called          6 times
           and      got    no      help     each         time.     Eventually             someone                told     me it would                 be two             days         (Monday)
           before         anyone          would          contact        me.      They        just     sent           a claims         form        and     that         was      it.    Terrible
           service         will     never        use      again!




           Jeff     Reece         TRUSTPILOT




                                                                                                                                                                                         Mar      12, 2016
           Verified         order

           Horrible                     Experience

           Wrong           building.          No       insurance.           Ruined           my morning.                     Left         a bunch        of     stuff.       Broke         a lot     of
           items.         Very      unprofessional.




           Mc TRUSTPILOT




                                                                                                                                                                                        Nov       29, 2015
           Verified         order

           Sucks

           Damaged                my      $6,200         bed.      Does       flat    rate      care?       Uh,         does        not     seem        like     it.     I purchased              extra
           insurance              so why         can't      anyone         even       pretend             to care?




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           Lise     TRUSTPILOT




                                                                                                                                                                                        Nov      15, 2015
           Verified         order

           Polite               and          punctual                       but             damaged                         all
                                                                                                                                      my       things

           I used         Flatrate         for    my move                 from        London               to   NYC           back        in 2014         and    was     very         happy       with
           them.        When          I moved             internally               within          NYC          I used        them         again.     The        crew     was         punctual           and

           friendly,          however,             when             I reviewed              all     the      furniture            there     were      scratches           and/or         dents      on     all
           items.         Clearly,         they         had     not     taken          enough              precautions               to protect           the    furniture.           I was      very
           disappointed                and       will     never         use        them           again.




           Ken       TRUSTPILOT

           1 star:        Bad


           Oct      21,     2015


           Verified           order


           The      worst         moving           experience                 of     all    time


           - Movers             themselves               were         great         as always


           -   A    meaningful              portion            of     our     things         were          damaged                in a flood        in the       warehouse,
           were        broken         separately,               or simply                never         got      delivered


           - Claims           and      customer               service          were         an absolute                   nightmare           to deal       with.                  were
                                                                                                                                                                        They

           rude,       were       uninformed                   or withheld                 critical          information              regarding            our      things,      and

           then      would           not    process            our     claim.          No         compensation                    or coverage             was       provided           for

           what        ultimately            was        tens        of thousands                   in damages                 and     months         of    delay.       The

           claims         process          took         so long         that        we      ended          up       getting         covered         separately          by      our

           insurance.


           - Will         never       move         with        flatrate            again       after         this    nightmare.




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           Robert           TRUSTPILOT




                                                                                                                                                                                         Updated          Oct        26, 2015
           Verified          order


           lousy              movers

           After        I posted            my review                     of this         truly       untrustwortHy                          company,                just       to prove          my point,                they
           responded               that         they     would              be in touch                  with       me.
           I   HAVE           OF COURSE                            NEVER                 HEARD                   FROM               THEM              AT         ALL,        NO PHONE                    CALL               NO
           EMAIL             NO NOTHING.
           ANYONE                   DRAWN                     IN     BY         THEIR               ARTIFICIALLY                               LOW             RATE             BEWARE.                  THEY
           OBVIOUSLY                            ACHIEVE                    THEIR               CUT          RATE              QUOTES                      BY       FAILING                TO FULLY
           INFORM                  CLIENTS,                    AND           NEVER                  INSURING                ANY MOVE,    THUS  POCKETING
           MONEY                  THAT             LEGIT              COMPANIES                             PAY          TO INSURE THEIR    EMPLOYEES    DON'T
                                  CLIENTS'
           SMASH                                          BELONGINGS                                WITHOUT                         COMPENSATION                                    TO THE              CLIENTS
           FOR         LOSS             OR REPLACEMENT                                          VALUE.
           It further             states        right         on their            contract            the        legal        requirement                    that        they      provide           a detailed

           inventory               marked              with        cost/          move         estimate             with            valuations               and         insurance            quotes          for     the

           property           being             moved.
           This        is not       done          either.
           Move         735851

           They        were         supposed                  to drop             most         of    our     stuff        in        storage           on moving                   day    in    our      storage
           room.         They           showed            up         and     said         they       would             not         do   so but            would           dump          everything             in their
           facility.         They          crammed                   our     stuff        in too           small         a space              resulting             in crushed                boxes      broken
           ceramic           pieces             and      a cracked                 60 inch           plasma              tv        screen.
                                                                                                                                                                                  " inventory"
           I will       specifically                   note        that     I refused               on      every         occasion               to       sign      their                                 list       and
           was       told     by        their      rep        that        doing          so would                make          clear         that         I was      requesting               specific           value
           insurance               no     matter          what            their         form        said.
           No one        in their  right mind    agrees                                    to let          a mover                 handle           all    their      valuable              property,           and        tells
                     mover,"
           that                 you know    what    skip                                    the      insurance.                    Smash            and      crush          our     stuff      as much               as you
                                                                                                          "
           want.        I 11 cover              your          negligence                 myself.

           They        further            failed         to insure                our     property               as requested,                   denied             liability           and    offered              $120
           dollars          as settlement.                    We are disputing                             the     credit           card       charge              and      considering               legal         action.
                                                                                                                                    "          problem"
           Watch            out     for     these         guys            who       answer            everything                       no                                then      do not        perform              as
           agreed.




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           Allie      Russo      TRUSTPILOT




                                                                                                                                                             Updated      Oct     20, 2015
           Verified         order

           HORRIBLE                                   CUSTOMER                                SERVICE

           Everything               seemed            to be going            perfectly.
           I had      them       come          move       my         stuff    into     storage,          and    then     move          it from      storage       to my     new
           apartment            a few         weeks       later.
           When        they      moved            me in,       all     seemed         good,        but     shortly          after,    my bed        collapsed.
           I had      the     professional              who        built      the    bed     for     me come           in     and     take   a look      and      i was    told     that
           the      movers          disassembled              it incorrectly                and    lost    a bunch            of pieces,         including        some      screws
           and      panels      that         weren't      replaceable.
           I reached          out      for     compensation,                  and     all    i was       awarded         was         $75.


           MY        BED       WAS            BRAND            NEW AND                      COST      ME        $1000
           THE        MOVE            ALONE              COST           ME OVER                $1500
           TOTAL             $2500           I SPENT          FOR            A BROKEN                BED        THAT            I    NOW     NEED            TO PAY
           SOMEONE                   TO FIX             OR PAY               TO BUY           A NEW ONE


           i will     NEVER             use      this    horrible            moving          company            again,
           What        a horrible             taste     in my        mouth.


           DONT          USE         THEM.              INSURANCE                     ON YOUR                  PROPERTY                 IS PRICELESS.




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           David        TRUSTPILOT




                                                                                                                                                                                Updated           Nov         10, 2015
           Verified            order

           FlatRate                         Moving                      is        the        worse                   moving                       company.

           Move         number                707496.            This         move         went           horribly           wrong.           For      long         distance            moves,         they
           outsource                 the     delivery,           which            obviously               leads         to zero         accountability                      or care       in your
           belongings.                  They          forgot         half      of    shipment               on the           truck,         which        I had         to wait          two       more        weeks
           to get.           There          was       probably              $10,000           in damages                   to my         stuff,        for     which           they      gave       me $300
           for    compensation.                        The      movers              stripped          the        screws         putting           back         together           my      TV        stand.           They
           broke        the       bed        frame          trying          to drag         it across            the     bedroom              floor.          As      the     movers            were        leaving,

           they       left      all    the      boxes          in the        neighbors               yard,        which             I got     in trouble              for.     Flat      rate     is just           like

           any     other          moving              company:                unreliable,             useless,               zero      care       in your            stuff,     and      extremely
           expensive.                 I would           NOT           recommend                    them          at all.


           Just    wondering                      if you       also         outsource              your       customer                service?          Since          your      response              on
           October             20th         that      you      would           reach         out     to me,            I have         received           no         contact       from          you.       No
                                                                                                                                        care"
           surprising                 though.          I'm     sure         you      wanted           to leave               a "we                    message                 on the      review            site,      but
           in reality            care        little      about        your          customers.               Just       another             example            of how           you       under-perform
           and     over-promise.




           Mem         TRUSTPILOT




                                                                                                                                                                                                    Oct      20, 2015
           Verified            order

           Unacceptable

           The       sales        rep       was       very       nice        and        helpful.          Unfortunately,                     my       experience                from       therewas

           dissappointing                      and      unacceptable.                     I hired          the    most         expensive               service           and      all    of my         most
           expensive                  and     important               pieces         of     furniture             were        ALL           damaged.
           It was        a big          move          and      by     the      end        of the      day         the      movers            didn't          care      any      more.         A    slide       that

           my baby              girl        was       going          to use         was     not      assembled                 correctly              and      the      foreman           was       annoyed
           when         I pointed               it out.
           I don't           think         I will      hire     them          again.




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           RATED
           11/10/2017                        ANGIE'S                           LIST


           This         was         the        worst               moving                    experience                      of     our            lives,         and          we're            afraid               the         review             below
           will     not        do      our         nightmare                        justice.               However,                       we         cannot               let       another                 person                  or family                   use
           them          without                 knowing                     of what                we         experienced:                            non-responsive                                 customer                       service,

           shoddy              packing,                   late          delivery,                   and         numerous                           broken              items.             The             reason                 we        chose
           FlatRate                 Moving                was            because                     of the             reviews                    and          they        were              referred                    by     another

           moving              company.                         Let       me also                    say,         the         initial           call        to      discuss                our        family's                   needs              was
           professional                      and           thorough,                         and         I felt        good              about              their         communication.                                    That           would                be
           the      beginning                     and            end          of     any            positive                experiences                          with           FlatRate.                   Delayed                     delivery:                     Our
           nightmare                   began                  as        soon            as      our        items             were              packed                  up       from           the         home                we were
           leaving.                We        confirmed                        a delivery                    window                  of        7/7-7/16,                   and         we        had             to    be         available                 within
           24      hours            (in      a long                distance                    move)              which              we         confirmed                       we would,                        and           made            ourselves
           flexible.               I called             the           long          distance                   moving                line          and           spoke             with         an         operator                    on     7/5          to        see
           if they           had          any           idea          to when                  it would                be         delivered,                     and         they          told           me "definitely                            at the
                                                                                                                                                                                                          update."
           end       of the            window                    but         to     call        back            in a few                 days             with         more              of     an                                     I called             on
           7/9     and         the         operator                     said            the     exact                same            thing.              I continued                      to      call          every               1 to      2 days

           only         to    receive               the          same               answer.                    They           also            said          I would                receive                an         email             4 days              out
           with         a status               update,                   and            that        never             happened.                          On         Saturday,                    July            15th           I made               yet
           another              call         (without                   one         form            of     communication                                    from          anyone)                    to     an        operator                 who              told
           me "your                 things               will         definitely                   not      be        there              by     tomorrow,                       the        last           day         of your               window,
                                                                                                                                                                                                                     you."
           and          because                  it is Saturday                              I do        not      have              any         further              information                          for                        I will         have
           someone                   call        you            first        thing             Monday                  morning.                     We           moved              from             CA to DC, and because
           of this           delay,            we         had           to        get        a hotel              room             for        2 additional                      nights.               Let me reiterate, I
           never             received                   ANY             form            of     communication                                  regarding                     this       delay               or        an        update             for      that
           matter.             On         Monday                      morning                  I received                    a call             from             Adam              who          called                himself               our           moving
           manager.                   I was              never               told        we         had         a moving                      manager                     named                 Adam,                  nor          had       Adam
           ever          reached                 out       to         me.          Adam               said           our       moving                    truck         would               be        there            the           following                   day,
           7/18         at     8am.              I expressed                         my         frustrations                        with           Adam,               and          he        told         me         he        would              tell
                                                                                                                                                                                                     nights"
           someone                   "who               could            compensate                            for          my frustrations                            and          hotel                                      and         have           them
           call     me.         A follow-up                           call         promised                    all     expenses                        would              be        covered.                     Broken                contract:
           The                                                   our         movers                  arrived                on      time            and          were                           nice            -- but           we         later
                        following                day,                                                                                                                           very
           learned              they           were    wholly                        disconnected                             from           FlatRate;                      FlatRate                  hires                local        movers                   to
           move              you       out        -- a driver                      to        move           your            stuff         -- and     local                   movers                  at your                   destination                      to
           unpack              you.          However,                         halfway                 through                 the         day,            they         told         me they                     were             not        being           paid

           by     FlatRate                  to     unpack                    us.        We          had         no          idea         this        was            the      case,              and             per        the       contract                   sent
           to     us,        it included                  unpacking.                           Also,           the          home              we         left       was         100%                 packed                    up     by      the

           moving              team.              The            contract                    also        said          that         they            would              dispose                 of     all        boxes.                they         didn't
           and      we were                      left     with           25+            unpacked                       boxes.                 The         contract                  also         said                            would              put         all
                                                                                                                                                                                                                 they
           items             in the         correct                   rooms.                 The         problem                   with         that            is that         the           original                movers                 had
           mislabeled                     most            boxes                and            did        not      organize                     the          items           (i.e.        glassware                         with         baby
           blankets                 and          computer                      screens                   with          clothing.)                    It was            a mess,                  and             there            was          no      way              for
           the      movers                to       put          boxes               in correct                  rooms.                At        the         end      of the move                            in,       the           main          mover
                                                                                                                                                             fault."
           said         to    me,         "sorry                for      the        mess,                but         this        is not            our                   Destruction                                  of       items:          The          other

           big     issue,            were               the        items             destroyed                       during              the         move.                When                they         packed                    us,      there             were
           several             items             that           were              very         fragile,               and          they            put       them            in special                    crates.                  One        of these


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           items           was      the        marble             top     to       our        dining            room           table.         When               the         movers               were            delivering
           this,      they        pulled           it out         of the           crate           and      it was             cracked                 down            the         entire         middle.                 Shelving,
           a dresser               and         many          other           items             were        also         damaged.                       We            are     currently                 in the            process               of

           filing      a claim             for     this.      Lastly,              I called            Adam             and        the        claims                 department                       several             times
           throughout                our          move           in day.            I was           in tears            asking              to      speak              with         anyone               who             could            offer
           me some                 help          through           the         process.                  I was         even         willing               to     pay         the       contract               movers                 to
           have        them          stay         and        unpack.                Finally,              the        COO          David             Giampietro,                        called            me         back.            I
           went        through              everything                  with         him.          He      asked               me what                 he        could            do      to     help.            I asked                him
           if he      could         send           someone                 over            to      pick         up    the        25+        boxes               that         I was          going            to     have             to
           empty.            He     said          they       don't        offer            this.         I asked            him         if there               were          more              movers              to     come
           back        and         help,         and        he     said         if we           were        in NYC                he      could                but     not         in DC.             I was          at a loss.
           He       told     me      he          would        call        me        back           the      following               day           to      let        me      know              if he     had             any
           movers            he      could           have          come             by.         Despite              several             calls          a week                to     David             I have             yet        to
           hear        back.         Don't           be     fooled             by     the          name,             FlatRate,                the       true          cost          is too            much          time,            too
           much            money,              and        unnecessary                         tears.
           DESCRIPTION                           OF WORK
           Long-distance                         move
           CATEGORY                      Moving              Companies

           COST            $10,000

           SERVICES                  PERFORMED?                           Yes

           WORK COMPLETED                                    ON 07/31/2017




           1/8/2017              ANGIE'S                 LIST




           Exteremely                       traumatic                    experience.                             Had           over           $10k               in        damages                      to        art,      a


           completely                       broken                console                     table,            a damaged                              chair               arm,         number                     of      broken


           glasses                and          dishes,               nicks            and           scratches                     to        furniture.                       Movers                   missed                   the


           move             date           by        2     days         and           when                it arrived                   15        items                were             missing.                   They               were


           scheduled                      to      be       delivered                      a     month                 later.           Flat         Rate              did          only          compensated


           me        a couple                    thousand                    for         the        damages                       (even                though                     I paid          for        the          extra


           insurance)                     because                    i did          not          itemize                properly                    all         the         valuable                    items.              The

           customer                  service                 rep         was             combative                       and            was            not           fazed             at       all     when               i


           threatened                      to      take           legal             action.               I strongly                    advise                  against                   using              them.




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           Description                 of work:


           Cross       country           move         from      NY      to SF.




           9/25/2016




           Horribly.              They         broke            items          as        well       as    sawed                   in    half       a Florence                  Knoll         sofa


           ruining              it and       refused             to     compensate                           more           than             200.00            which             I never


           cashed.               cut      a sofa         in     half      rather            than         try         and         fit    it through                a door

           Description                 of work:


           moving          my      furniture




           7/13/2016


           Description                 of work:


           Movers          in New          York       didn't     pack       items          correctly.               We have             several          pieces      of damaged                  and


           broken         furniture.           Movers          in Denver            were          outrageously                    unprofessional,                 unprepared                 and

           unskiled.            We paid         for    our     things       to      be     unpacked.                 They         refused.          We paid         for       the    movers           to


           set   up    our       beds       and       cribs     and      reassemble                 furniture.             They          refused.         We paid          for      them      to      hang

           out     TVs.     They         refused.         Our     freshly           painted          walls          are     dinged           and      scuffed        in every           room.         My

           husband              caught       someone             opening             a package               with         out      chef        knives.      The     foreman             called        the

           police      because             he felt       threatened               by one           of the           movers             who      accosted          him     to sign          a form


           saying         the    job     was      complete             given        that        it wasn't.          This        experience               was      a complete               disaster

           and      extremely             emotional            taxing       for     my family.               To      make          it worse,         FlatRate           has      been

           *completely*
                                       unresponsive               to our          complaints             and         has        yet     to compensate                  us for       this     abysmal

           performance.                  I IPlease,       do     not     use       this     company.




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           11/16/2015


           Description            of work:


           Moved         from     one       apartment      to another.       Horrible      job,     damaged         most     if the    furniture.       Some


           chips,     completely             destroyed      a bed   and      instead    if admitting           it they     propped        it up     against      a


           wall.    Later       when    we sat on it it almost            collapsed.         Legs       were    crooked.       Frame       ripped       off    from

           headboard.            ITotally      unprofessional.       After     complaint          they     didn't   even      apologize           or refund,


           told     us to file     a claim.




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           10/21/2015




           They            lost      items               on         both         legs              of     the         move.               I have              filed          a couple                       of     missing


           items           with           this          company                   and              not       received                     near              their          worth            back.                One          item


           was        a very               expensive                        lamp              of        which           only             the         shade                 arrived              worth               $5,000


           which            I have               documented                             from              the         store             I purchased                          it from.                 They

           acknowledged                                 this         information                          but         explained                       they            cover             their           losses               by    the


           pound              and          only           paid          me         back                 $1,100             which                included                    the         cost           of        a printer


           they        also          lost.          Another                  item             they           lost        was             a     L?ger                lithograph                       which           is      one         of


           only        300           in     the         world.              Of     the             items             shipped                    to     my           daughter                    a box              filled         with


           linens,            duvet              covers,               pillows,                    stuffed              animals                      from           when             she             was          a baby,


           tablecloths                      etc.         added               up         to        a value              of      ~$500.                   They               only         reimbursed                           me

           for     $150.             I sent             her         a dining                  table             which              they          took               apart          to      ship,             but       when              it


           got       the          destination                       I had          to         hire          someone                       separately                        to     put          it    back


           together.                 They               said         they          couldn't                     do      it.    It was                 nothing                complicated.                             I could


           never            get       someone                         on     the             phone               to     actually                     deal           with          these               issues.               I really


           wanted                 them             to        look      for        the             items.            This           is    one           of      those              deals               with         a very


           slick       estimator                        who          comes                   to      look        at     the             work,           but           disappears                        after          the        job


           and        can          never                be      reached.




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           8/27/2015




           It was         horrendous.                   They        broke            a     piece               of   furniture                 and       refused           to     fix   it.


           They         gave       me        the        run     around          and              never              responded                    to     me.       They         dragged              it


           on     and       dragged                it on.      I just    let        it go.             They         should               be     ashamed              of


           themselves.                The          customer              service                 is     horrible.              They            came,          moved             the


           furniture           and      had          little     regard         for         the          value           of    the        furniture.           They             broke          the


           leg    and       did      not         even         attempt          to        fix     it.    They            did        not        attempt         to    respond                  to


           my     call.     They           did      not       attempt          to        make             it    right         or    to        reimburse             me.         They          did


           nothing.




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           8/2012015


           Description                 of work:


           PAY      CAREFUL                 ATTENTION                      TO         USING             FLATRATE                   FOR            INTERSTATE                         MOVES,                AND          TO THE

           RISK        OF      NOT         BEING            COMPENSATED                                FOR        DAMAGE                     OR LOSS.                  This         was       an     interstate                   move


           where         almost            all of the            items         they        packed              (crystal           etc)        were           'lost'.         [the     coincidence                      of

           'loosing'
                               my    most         valuable               items,           especially                 because             they            were          aware              of them              in that        they

           packed            them,         was        astonishing                   to     me]     They           left     a drawer                 of silver            still       in the        old         location               that    I

           was      lucky        enough               to    retrieve,           even            though            they          had      been            hired          to     pack         it. They             packed                silk


           drapery           using         tape        wrapped                 around            the      silk.      Almost              every           Garment                    box     (all of which                    they

           packed)was                delivered                crushed.                Two        movers              showed                  up     on     the         truck         at delivery,                 one        (a


           woman,              representing                  herself           to     be the           wife       of the          driver)            wearing                 open         toe      flip        flop     type


           shoes,        advising            me that               she     physically                  really        couldn't                lift things,              and          her    husband/driver                             who

                                                                                                                                   "hired"                       'local'
           was      incapable               of doing             the      move             alone.         She         then                            two                           men     who           showed                  no

           evidence             they        were           professional                   (or even             unprofessional)                           movers              (I have          a photo                 of one


           dragging             a piece           of furniture                 across            the      front          door,         and        leaving              furniture            uncovered                       in the


           rain     in the        driveway)                and      it was           suggested                  to    me         that        they        came           from          some          kind          of local

           work        center.         By way              of example                    only,      the       beds         were          not         put      back           together,              a credenza                        was


           left    propped             up    on        a dog         bed        because                 they         didn't        put        the        legs       back            on.    There            was         also

           extensive             damage               to    my      home              including             newly            finished               floors         scratched                (even              though             I


           asked        repeatedly                 they       did        not        put     any        protection                 on     the        floors)            and       newly           painted              walls

           damaged.               Other          items        were         damaged                     or broken                 beyond               repair,           including                a mirror              in a crate


           I paid      for      them        to    build.         I paid         for       the     increased                valuation                 coverage,                   including                for     the        missing

           items       (i.e.                      and        yet     -                      of example,                                 offered              out                                           $3         per
                                 crystal)                                by way                                            they                                        approximately

           Baccarat             Crystal          glass                              - and        when           questioned                                                    how                    arrived             at that
                                                              missing                                                                         concerning                                  they


           ridiculously              low     figure,          they        declined                to tell         me other               than         stating             it was           the     price          of a

           'comparable'
                                       glass.          A multi           thousand                 dollar          sofa          that     was          part         of a set           and        which            was

           damaged               to the          point       that        THE         estimator              that         FlatRate              asked            that         I hire       to do           an     inspection


           stated        it needed               to    be     replaced,                   and     the      fact       that        it was          a set         should               be factored                  in, was



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                                             value'                                                                                                                                              'value'
           given        a 'claim                               by     FlatRate              of $400            +/-. When                  I asked         the      basis        of this                           FlatRate

                                                                                                                  sofa'
           stated         that         was       the      cost           of a 'comparable                                      from           Home         Depot         (!!!) I attempted                      to speak

           with     their         legal         department                     and       received              NO reply                   AT     ALL,      I sent        Legal         a claim           letter         and          got


           no      answer,             and         I asked            to speak               with      a supervisor                       or manager              and         was       told      to communicate

           to     Info@         . I




           7/29/2014


           Description                      of work:


           They         went          wrong            in so          many           ways.          Two       of the           men          packing           didn't       speak           English              and         since          I

           lived        in a duplex,                   one       person              couldn't             be watching                     all three           of them          at the          same        time.

                                                               plan"
           Despite             the        "moving                            in writing              and       my       re-going                over     everything               for      the     onsite              man          in


           charge,             the      other          two         didn't        get     the        messages                  from          him       in their      native          tongue             apparently.


           Not      only        did       they         bring         things           they       weren't             supposed                   to (like        cable         boxes,           actual          WOOD

           SHELVES                   from       the      closet!)              but     they         forgot          things           they       should           have         (bakers           rack,      everything

           under         the         sink      in the          bathroom!).                   Despite           being            reassured                by the         salesperson                    that        they

           knew         how           and      were            qualified             to take           apart         a sleepnumber                         bed      (in this         case,        a king            sized,

           adjustable                 base         -                                    expensive                                                                   folded           the                   in half,
                                                       exceptionally                                                bed)        they          apparently                                       thing

           failed       to wrap               it properly                and         it arrived            ripped          apart,             exposed            and     with        a nasty            dirt      stripe

           down         the       side.                                         the      men                              on        the       scene       (the      head         one                                   - which
                                               Additionally,                                          arriving                                                                             delivering

           was      not        the        ones         who           packed)            told        me that            when              he saw         the      bed      in the        storage                facility,          he

           spoke          to     HIS         supervisor                  about          it because                he      knew            it was        ruined,         and      his     supervisor                    told       him


           to     "go    ahead               and       deliver            it! They           also         broke         apart            my     daughter's              bunk         bed,        breaking                   wood

           pieces          and         connectors,                    also       ruining            THAT.            They           scratched              up     a design             within          reach           coffee


           table        and          my      headboard                   was         also        exposed               (not     wrapped                 properly)             and       DIRTY.           Art       work           was


           randomly               thrown               into      boxes           with        other         belongings                     as well.        Additionally,                 I paid         extra           to     have


           them         take          down         the         TV     hanging               on      the      wall       and         to    reinstall           it in my         new       home.           The

                                                                                                                                                                                                                            plan"
           delivering                 crew         had        no      idea       that       was       EVEN             AN OPTION!                      I showed            them          the      "moving

           that     came              from       Flat         rate       and     they          were          confused.                They         broke         a floor        steamer             and           decided

           to throw             my        shoes          on        the      bottom             of hanging                 clothes              box.     Since          they      did     not      tape           the        box


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                              the     dresses         were       crumpled         on     the     bottom          the   box       with             shoes         - so       now      all of
           properly,                                                                                                                       my

           the    clothes           arrived     wrinkled          and      smelling       like     feet.     They      also       taped         right     onto       my      daughter's

                     Basics         colored      bookcase.                                the     tape       removed             the     colored         veneer            - thus
           Way                                                          Removing


           ruining      that        as well.    All    in all,    monkeys             could      have       done       better.          Since      I didn't         purchase           their

           optional         insurance,          they     only      have      to   pay     60      cents      a pound          and        decided             that    the     weight


           totaled      a claim          of only       $300       - less          than         I gave      the    various         men       for    tips!!!      NEVER            USE
                                                                             $$

           FLAT        RATE!




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           7/30/2012




           I hired             Flat          Rate          to      pack              and           move              half         my        belongings                          from              Manhattan                        to


           Queens,                    and        the            other              half      into         storage                  for          a year.               I just       (7/30/12)                      had       them


           move             my          storage                  items              to      Queens.                    The          agent               convinced                         me          to      pay        $1200

                                                       Service"
           extra          for         "Elite                                       which             includes                     having               a    manager                         on       site,a            photo


           inventory                    of       items                in     each           box,           special                shoe               boxes,                an     IT        speciailist                   , as


           well       as        setting                up        TVs           and          electronics                       at     the             destination.                       They               did      not


           arrive           on         packing                   day          at      9     am.       After            I called                  they         apologized                             and          sent         a


           crew           at     one.            No         manager,                        no      photos,                  no       IT.       Then             at     three,               a different                    crew


           arrived               and           replaced                      them.           They              wanted                 to        stop          at       5    and             I made                them           stay


           until       they             were            done.Yet                         another                crew              arrived               the        following                         day         and


           loaded                one           truck            for         storage                 and         one          to      Queens.                     They             put            everything                    in


           the       house               and           left.          I had           to     call         to     get         them               to     return              to     unpack                    the


           electronics                       and         tvs.              I challenged                        the      final            bill        because                    I had            not         received

                                       Services"
           the       "Elite                                           and           after          many              weeks                 of        discussion,                    they               gave            me

           about            $300               back.              The           storage                items                were            delivered                      yesterday                        and          I have


           about            120          boxes                 which               are       labeled                  with          only             the      word               "Storage".                       No       room,

                                                                           "storage."
           no       description.                        Just                                         They              also          charged                     me            $2750                 to     simply


           deliver              the          items             from            the         truck          to     the          house                  and         stack            them.                But        they

                                                                                     Services"
           required                   I pay          the          "Elite                                         price.             Now              they          are          billing              me          $750          for


           an       extra          month's                     storage                    because                    it went              in     on        the         29th            of        a    month              and            left


           on       the         30th.




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           2/12/2012




           They           were           horrible.                 We        would                not          recommend                      them            to    anyone.                 It was             a


           nightmare.                     We         didn't           have            a     lot        of     stuff         to    move            over,        it was          a small


           move.              The        quality              of     their           work              was          horrible.               They          damaged                  so      many               little


           things            that        I had.             There            was          some                damage                   to    my     brand           new         refrigerator


           and        they          spray            painted              it,    tried            to        cover           it up.          They          didn't        want         to         give          us


           money              to     cover            the          cost         of    the         refrigerator.                         It was        really         bad.          They            didn't


           give        us      anything                and           it was           a     really             bad          experience.                      This       is   the        first          time


           we       are       hiring             a   professional                         local             service.              If    we    move             things          our        self,          we

           wouldn't                 do      so       bad.




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           PLAINTIFFS            EXHIBIT            B

                                                                             PLAINTIFFS'
                                                                                                 EXHIBIT B
           DATE                            FLATRATE      EMPLOYEE         COMPLAINTS             EXCERPT           - DIRECT QUOTATIONS


           12/7/2015                                                                                                life."
                        "Modern       Day Sweatshop.      The lack of pay, respect and quality                of
                        "Draining     and unreliable.     Company       does not appreciate          hard work and is willing                to replace any worker
           1/28/2016
                        at anytime      for any reason...
                                                                                                                               environment."
           6/7/2016     "Worse      place to work ever. Never experience              a worse workplace               and
                        "Flatrate     was a very stressful    company      to work for. There was always a fear of losing your job at any
           1/2/2018
                        given time.


           7/13/2017    "Do not work here. I would           highly suggest that you do not! This company               has a lot of issues, this is not
                                                                                                                                                    bad."
                        a company       you can grow at. There are no perks to working                  here everything   about the company is
                        "Stay away, far far away! It's a revolving          door company...          The management                  is terruble,     it's basically     a
           7/10/2017    dictatorship..."

                        "The place was rife with         unscrupulous      sales tactics, managemen                 was non existant,          the only emplasis
           1/11/2017                                                        later."
                        was to get paid and deal with problems
                                                                                           scammed!!!!"
           3/4/2019     "You can do better        for yourself.   Clients are always
                                                                                                                                                            absurd."
           7/6/2018     "They take advantage         of minimum        wage workers      and make millions                   at the same time.        Its

           5/9/2018                                                                                                                                              reason."
                        "Worst job I ever had. I saw many good workers                  either     quitting        or getting      fired for little    to no
                        "A terrible         to work for. Employees are treated like slaves... This company
                                        company                                                                                                 is getting       away
           12/28/2019                                        animals."
                        with slavery. They treat people like
                                                                     management."
           8/22/2014    "Not a good company to work for. Horrible
                                                                                             worse."
           7/3/2015     "Horrible. Upper management    is horrible and arrogant...pay is the
                        "My integrity      is not for sale. Flatrate     moving   in New York City requires                     its employees       to lie to the
           5/15/2015    moving public. My managers            would     create lies for me to relay to the clients when we would                                 not
                                   promised."
                        deliver as
                                                                                                                              everyone."
           4/8/2016     "...this company      doesn't   care about employees           its sad how they treat
                        "Under Staffed      too often. The quality        care for customers                             must improve          - No sustainable
                                                                                                     belonging
           1/29/2017                           workers."
                        effort     from other
                                                                                                 operation."
           11/18/2016   "This place is truly a disaster.      This is a revolving      door
                                                                                                                                                    office..."
           5/23/2019    "Toxic Work Environment.            Unhealthy     behavior,    yelling     and bullying              is allowed    in the
                        "Not for everyone.        Very poor communication             from management.                Low pay poor benefits                 Quick fire
           8/13/2019            ,,
                        culture.




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           Modern            Day          Sweatshop                         INDEED.COM
           Sales          (Current                                           - New York,                  NY - December
                             Employee)                                                                                                        7, 2015
           They   do a great  job at making                                        you        think         you're        going         to    be working                    for     a hip,        low-key,          fast

           paced,   modern   company    when                                           the     fact       is you're            going         to be working                    60+         hour,      6 day
           weeks,           and        all        holidays.            You      will     be        paid      2 degrees             above                minimum              wage            and     when  you
           ask      for    a raise,               they       will     replace           you        in a matter                of days.            The         turn-around                 at FlatRate              is
           unlike       anything                   I have           ever      seen.          You       cannot         find       anyone                who       is not           an    executive            who         has
           been       there    longer                    than        1 year.         They          expect          you        to provide                ivy-league                 results         while     paying
           you      a McDonalids                         salary.
           Pros
           You      can        come          and      go as you               please,  but that's                  because            youre           paid     strictly      on commisions.                   Legally,
           they cant            require            you     to stay          in the building.
           Cons
           The      lack       of pay,            respect,          and      quality        of life.




           draining              and         unrealiable                    INDEED.COM
           Sales          Consultant                  (Current                                         - New         York,        NY - January                               2016
                                                                            Employee)                                                                                28,
           its a revolving    door.    company   does   not appreciate                                                            hard        work            and      is willing            to replace            any
           worker    at anytime     for any reason.   was there     for                                                       year     and            made          $750,000               in sales         and         did
           not      receive            one         promotion.




           Worse           place             to     work            ever   INDEED.COM
           Foreman/Driver                           (Former                          - Bronx,                        NY - June
                                                                        Employee)                                                             7, 2016
           Never          experience                     a worse             workplace                and        environment.                 They             management                     try to get the
           more          out     of you            with       out      consideration.                     In summer                  and      spring           they        would           request    you to

           stay      or work            late         at night           without          compensation.
           The       hardest            part         of the          job     is that      every  day they     have                           no work             they        will       either      send      you
           home           and      pay        you         4 hrs        or     keep       you doing   cleaning.
           Cons
           Lower          Commission                  out of all moving                      comp,         Don't     pay       overtime




           Flatrate             INDEED.COM
           Dispatcher/Administrative                                        Assistant              (Former                                        -                   NY - January
                                                                                                                     Employee)                        Bronx,                                         2, 2018
           Flatrate            was     a very    stressful   company                                   to work         for. There                     was      always             a fear       of losing   your
           job     at any          given   time,     Compensation                                   was       very       low         and      the       work         load         was        overwhelming.




           Do      not     work              here         INDEED.COM
           Sales          (Former                                 - New                  York,            NY - July                    2017
                                                  Employee)                                                                    13,
           I would             highly        suggest                that     you       do     not!        This   company      has                      a lot     of issues,               this     is not     a

           company                you        can         grow         at.    There           are     no     perks   to working                         here      everything                about       the

           company                is bad.
           Pros
           I cannot            think    of any.
           Cons
           Management                   is terrible,            they        favorite         certain        people,           there     is no growth                  and         pay    sucks.




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           Stay    away,               far     far      away!            INDEED.COM
           Stacker/LD                  Supervisor                  (Former                                               -                            New                           -                          2017
                                                                                  Employee)                                   Newark,                       Jersey                      July           10,
           I was         a stacker/supervisor                               in the Newark                           NJ       facility          for     3 and a half                     years           there,        I asked             for
           a raise          because              I felt        I deserved                   it, less           than           a week             later         I was         let    go          due      to a
           ,"technicality".                   This       is the        way the management                                             works,        they   hire               you          for     minimum                 wage

           during          peak         season               and     the let go of the people                                          that      have    been                there              with         experience              and
           have        had       raises          already.               It's      a revolving                   door           company,                   every   couple                       of months              they      hire
           new      employees                    because                this       is a company                           that        can't          keep     good   employees.                                 The
           management                        is terrible,            it's       basically       a dictatorship,                                just       do    and      don't             ask         questions.              Also         a
           lot    of times             they      don't         even            follow     their   own     policies.                              If your         looking                to expand                   in your         work

           environment,                   please             don't          work         for       flat       rate,          they       will     rip you          off, and                then          laugh         as     they
           send      you         on     your          way.
           Pros
           Had      some         great         hard       working              co-workers
           Cons
           Management                   is terrible,           you      will         get treated               like      a robot,              not like        a human                  being.




           Not      a good              work          life     balance                  INDEED.COM
           Warehouse                    Manager                (Former                                                - Vernon,                CA - January                                    2017
                                                                                      Employee)                                                                                    11,
           The      place         was          rife     with        unscrupulous                          sales           tactics,             management                          was          non      existent,            the     only
           emphasis               was         to get          paid          and       deal         with         problems                  later.

           They          were          also       many             customer                    complaints,                            much            due       to     the         low          quality     of         movers

           they    hired    as sub-contractors,                                               so        much           so        that      they   had    no                   actual              full  time            movers
           in their                                                                  was       done             through                  sub-   contractors                               or                                        all
                        employ,    everything                                                                                                                                                    day          laborers,
           so     that      they         wouldn't                  be       responsible                        for       employee                     benefits               of     which               those          who
           worked            in the            office          had          little       to        be     satisfied                   with,          so     many         people                   would             come        a go

           every          few         months.
           Even          their     suppliers                 complained                     about             the      bills      that they                 either       paid            so      late        that     they      had         no
           real     business                 account            and          reliability                and      good            standing.
           Pros
           good      place        for Serbian                 and       Israel          immigrants                   to make             a living         off the       books              for the           summer
           Cons
           No employee                  benefits,            No upward                  advancement,                          Poor        work         life Balance.




           You      can          do     better          for        yourself                 INDEED.COM
           Supervisor                  (Former                                          -                             NJ       - March
                                                        Employee)                             Newark,                                                4, 2019
           Nepotism               and         favoritism      are                 the       norm          at the              NJ      warehouse.                     Its run             like     a high            school
           cafeteria             not     a place             of business.                      Clients                are      always                 scammed!!!!
           Pros
           Hourly         pay.     Weekly             checks.
           Cons
           Unequal           work        load.        Unfair         wages.             Toxic           work         environment.




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                    "errors"
           Many                               in    payroll.            Low           gratitude              high          demand.             INDEED.COM
           Mover/Driver                  (Current                                        - Bronx             NY - July
                                                               Employee)                                                         6, 2018
           Its    been       good         and        bad.       They    cant           pay you                 properly   though.     So                         many       mistakes               in THEIR
           favor      with        everything                from        sick      days    to lost              tips to entire   working                           days       unaccounted                   for.


           It is statistically                impossible                    to have          this     many          mistakes            and          for     ALL         of them        to    be        in their
           favor.


           They    will never   pay you even    5 dollars                                             more       by        accident.           They          WILL          lose       hundreds              of
                                                 accident"
           dollars    or dozens    of hours "by                                                         on     your         check.


           Then       they    make   fixing                    the      problem               YOUR            issue.         Payroll          department                   is like     God          on    the
           second        floor.  You    cant                   approach                    them       so     they      can      FIX      their        constant              errors.


           Its a scam              in that         sense.


           They       take         advantage                   of     minimum                  wage          workers             and          make           millions             at the       same              time.
           Its     absurd.
           Pros
           Moving        job      pros.
           Cons
           Work      for free          or fight        like you         stole         your     fair    compensation




           Worst         job       I ever          had        INDEED.COM
           Dispatch            Supervisor                (Former                                           - Pico                        CA - May
                                                                               Employee)                                   Rivera,                                 9, 2018
           I always            advance        in my             work           positions,              but     this    company                 did         not    like     to see       hard        workers.
           Seemed              like     if you work                 well       you         were      briefly        getting  write               ups.            I saw      many         good            workers
           either        quiting             or     getting            fired         for      little    to no          reason.
           Pros
           None
           Cons
           No benefits,               low wages,              and      no incentives.




           A terrible             company                to     work           for.        INDEED.COM
           Truck         Driver      (Former                                           -                     NY - December                                 2019
                                                              Employee)                      Bronx,                                            28,
           Employees                   are        treated            like      slaves.              There         is no      order.          Your          checks          will   never            be    correct.
           This      company                  is getting                away           with         slavery.           They          treat       people             like      animals




           I don't        recommend                      to     anyone   INDEED.COM
           Move        Coordinator                   (Former                       - Bronx,   NY - December
                                                                   Employee)                                     19, 2019
           Good        employees                   are      not valued,    nepotism      is a big problem.  AII these   effects                                                              the
           organizational                    culture         and moral.

           Company                does        not      even          have        an        organizational                   chart,      who          reports             to who       and          who      does
           what       is a mystery.                  Once            in a life         time         work       experience.




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           August         22,   2014    GLASSDOOR.COM




                   FLAT




                                                                                        for"
           "Not           a good        company                  to     work



           Former         Employee      - Confirmations               in New                NY
                                                                                York,
           Doesn't         Recommend



           I worked         at FlatRate        Moving      full-time           for    less     than     a year



           Pros



           there      is nothing        good    about     this        company


           Cons



           doesn't        pay    much     straight      commission              for     sales        people      horrible   management




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           September              4, 2014           GLASSDOOR.COM




                  FLAT




                                              company"
           "Poorly                run



           Former        Employee             - Relocation           Consultant            in New                      NY
                                                                                                          York,


           I worked            at FlatRate            Moving         full-time         for       more           than       a year



           Pros



           There        are      some        decent         people       who        work         there.         A decent            job   for      a college      student       just

           starting        out       for    some          sales   experience.



           Cons



           Huge       turnover              as they        make      it difficult          for     you      to actually              make       a commission.               obvious

           favoritism            towards            senior        agents.        No   respect             for     new         agents.       Dishonest           on all   levels.



           Advice         to     Management



           I don't       think        the    owners           of this       company              have      any         idea     how       poorly       the      management             is

           running         the       day     to     day     operations           as they          have          no     involvement              and     may      be unaware            of the

           insane        politics.          Treat     your        employees            better           and       maybe          they      would        stay.     Hire   more

           experienced                management.




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           September               13,    2015       GLASSDOOR.COM




                   FLAT




                                          U"
           "We         Move



           Current        Employee              - Anonymous             Employee
           Doesn't         Recommend
           Negative            Outlook
           Disapproves                of CEO



           I have      been        working           at FlatRate             Moving             full-time



           Pros



           When        they       pay      attention          to     details,          you'll      get    great      service,         and      a positive              experience.



           Cons



           More       often        than      not,    you      will     get       the     runaround,               spending           wasted          time          trying     to get    an
                                                                                                                                       Firs"
           honest         answer,          you      will     find     that       the     term        "Customer              Come                 is about              as true       as the

           Easter         Bunny,          pay    attention           to your            details,         know      exactly          what       you     have,          names        of the

           people         doing       your       actual       move,          they        may       not      be   directly          employed           by      the      company          you

           hired      and      they       must       tell    you      that       up     front       to   avoid      any      legal     issue,        even...


           Show        More



           Advice         to    Management



           Hire      better        movers,          and      sales      staff,         repeat       clients       and       word      of mouth              will      only    do     so much




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           July    3, 2015         GLASSDOOR.COM




                  FLAT




           "Horrible"




           Former          Employee      - Anonymous               Employee
           Doesn't         Recommend



           I worked          at FlatRate          Moving       full-time



           Pros



           I'm    ashamed          to say    I can't       think      of any   pros



           Cons



           Schedule          is inconsistent...            Upper      management       is horrible   and   arrogant...pay   is the   worse




           May       15,    2015      GLASSDOOR.COM




                  FLAT




                                                                      sale."
           "My        integrity             is     not       for




           Former          Employee      - Anonymous               Employee
           Doesn't         Recommend
           Negative          Outlook
           Disapproves             of CEO



           I worked          at FlatRate          Moving       full-time



           Pros



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           Flatrate               moving               in    New          York         City      requires          its     employees                  to     lie        to      the     moving           public.

           My manager                       would                create         lies     for     me to relay               to        the    clients        when                 we would            not

           deliver            as promised.



           Cons



           When         I questioned                        why        are     we lying           or needed              clarification                on how              best        to navigate

           through            the         lies    being           told,        I would          face    resistance.              The        entire     long             distance           team         turned

           against           me.         I have         a moral              compass            and     most       there         don't.



           Advice            to      Management



           Employee                  - client          relationships                    should         be based           on     an honor             system.




           April      8, 2016               GLASSDOOR.COM




                    FLAT




                              supervisor"
           "shift




           Shift     Supervisor                  in Newark,               NJ
           Doesn't            Recommend
           Negative               Outlook



           I worked               at FlatRate                    Moving



           Pros



           None        this         company                  doesn't           care      about         employees               its    sad     how      they             treat         everyone



           Cons



           offer      sheet              says     up        to    5000         annual          bonus        paid    quarterly                based         on       performance                   but     never

           received               full     amount                and      never         saw      a score/rating                  card       on why           I didn't             get     full   amount

           then       they          don't        give        when            you       should       receive        you         have        to beg      for         it



           Advice            to      Management



           Get      help




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           January          20,       2016           GLASSDOOR.COM




                  FLAT




                                                     start..?"
           "Where                  Do           I




           Former          Employee                 - Anonymous                 Employee
           Doesn't          Recommend
           Neutral          Outlook
           Disapproves                 of CEO



           I worked             at FlatRate                 Moving          full-time            for     more            than       a year



           Pros



           Great      co-workers,                     and        free     Thursday              breakfast,


           Cons



           Well      they        do    not          pay-out             as promised.              I know            I heard          it from         before     when         I joined       the

           company,              but     they          will      show           you        numbers           (potential              money)          to    motivate       you      and      don't

           pay     out.     They         will         come          up    with         phony         reasons             on why         you     did       not   meet     potential.             Very

           sad     after        you    get          your       hopes        up        to    e xceed      the        expectations.               As a beginner             entry         level     is goo

           but     don't        bother              if you       are      use     to       corporate          set        straight       scenario......


           Show       More



           Advice          to     Management



           Pay     your         employees                  what          they     deserve              and     stop        cutting       them         short.     Do    not     make

           promises             you      cannot               keep.       And         lastly     stop        the    scorecards                crap     because         it obviously             not

           working           in anyones                    favor.




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           January          29,   2017      GLASSDOOR.COM




                  FLAT




                                         Taker"
           "Inventory



           Current         Employee         -                    Specialist       in Newark,
                                                Inventory                                                 NJ
           Neutral          Outlook
           No     opinion         of CEO



           I have      been       working           at FlatRate         Moving           full-time             for   less   than   a year



           Pros


           - Meet        great    customer            -                       donation          from       customers
                                                          Receiving


           Cons


           - No      Set    Schedule            - Under     Staffed      too      often      - The                          care   for   customers
                                                                                                           quality                                   belonging

           must       improve            - No      sustainable          effort      from        other          workers




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           November                18,       2016          GLASSDOOR.COM




                   FLAT




                                                                              pudding"
           "The            truth              is     in      the



           Current         Employee                - Anonymous                     Employee
           Doesn't          Recommend
           Neutral          Outlook
           Disapproves                  of CEO



           I have         been      working                at FlatRate                   Moving             full-time



           Pros



           The      only        pros      are       that         for     the       most         part        your        peers           (co    sales         people)              are    good           people         and

           fun     and      nice       to get            along         with.



           Cons



           Where           to begin.           This         place             is truly        a disaster.               If it weren't                for     the         fact     that      this        company            got

           lucky         in securing               its     name           and       domain               name          this     place          would           be in shambles.                          There       is 0

           consistency                 and      that        begins             from       the        very       top.      Direction              is lacking,                cross          departments

           don't      care,        ownership                    doesn't            value         it's     employees,                    what      once             were         normal          perks           is now         a

           faded         memory              of the         past,         you'll         get     thrown               under         a bus        if...


           Show          More



           Advice          to     Management



           There          is no     advice.              This      is a revolving                       door         operation.               Whatever               is said            goes       in one        ear      and

           out     the     other.         In the           end         of the       day        the       owner           only       cares        about             his     profit        and       will        overlook

           the     well     being            of those            that          achieve          it for         him.      It's     all      smoking             mirrors.             The        company                talks

           a big     game          of how            it recognizes                     the      problems                and       doing         everything                      possible           to     correct         is

           but     in the        end      of the           day         those        who         have           been      here           long     enough              know           what's              real    and

           have      come          to accept               the         fact     that      the        environment                    will       never          change.             Business               is business,

           ownership               will       do what's                  best      for       their       pockets              and       no     one         else.     This         is the       first       review         I've




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           never       written          about      anything            in my      life    but      I've        come        to the      point      where         I just       need          to vent

           and     speak         the    truth.     There's          only    so much             I can          yap       my coworkers              ear's       off,   it's    all    we

           seem        to be talking             about          nowadays.         The       only      reason              that   I'm    still     here     is because               I've      been

           doing       this      long    enough           and      though      the       pay      could          be better          it alright       for       me.    But     for      those

           thinking           about      joining         this     company          you      got     no         future.       Save      yourself          the    2 months              it'll    take

           for   you     to    either       quit    or get         fired    and      look       elsewhere.




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           May         23,      2019         GLASSDOOR.COM




                   FLAT




                                                     Environment"
           "Toxic                   Work


           Former              Employee           - Lead          Specialist          in New                         NY
                                                                                                       York,
           Doesn't              Recommend



           I worked                 at FlatRate             Moving              full-time            for     less      than         a year



           Pros



           Some              individuals             were         nice.



           Cons



           There             was      an environment                       where            you       couldn't              make        a mistake            because          blame         would           be
                                                                                  management-                                                          'training'
           the       first      course         of action             from                                            even      during          the                          period.       The         training

           period,             was     horrible             as, the         supervisors                    were        simultaneously                   working             and    trying        to     earn

           commission                   obviously              while            trying        to      show          new       hires      the        system      used        to generate                leads.

           Which              of course           is stressful              for     them            and      for     new       hires,        and      doesn't        make         learning            easy.
                                              draw'
           You        are       'in   the                   for      commission                     fairly         early      ( after        four     weeks)          so depending                on your

           ability            to grasp         the      system            ( while           still     training!)              you     may       end      up     owing         FlatRate          as they

           will       pay       you     approx.             $500          no     matter             what.         Unhealthy             behavior,yelling                    and    bullying            is

           allowed              in the        office,       and       people             walk         around           with         unchecked            big     egos.       Team:          fighting

           over        leads,         supervisors                 not      able      to help              their       staff    because              of management                  that      would

           probably                 punish        them         too        for     doing         so, people                 barely       want         to take        lunch      to avoid          losing

           commission,                     long      hours,          I could         go on...


           Show              Less



           Advice              to     Management



           Start        some          basic       work         creating             a respectful                   work        environment                   where       professionalism                      is

           encouraged                   rather          than       punished.




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           November                    26,     2019        GLASSDOOR.COM




                  FLAT




                                                                                                              Pay"
           "Poor            Communication,                                             Worse



           Current         Employee                 - Relocation            Consultant                 in New                      NY
                                                                                                                     York,
           Doesn't         Recommend
           Positive         Outlook
           Disapproves                   of CEO



           I have       been            working             at FlatRate                Moving            full-time           for    less      than     a year



           Pros



           General          good             will     between            coworkers.                    Sales      managers              try     to be flexible            with         schedule.



           Cons



           Work       weekends                      when        not     told         until      hire      date.       Work          ALL       holidays.        They        are    never       closed.

           Upper          managers/owners                              do      not     care      about          their        employees.               Draw      pay       is ridiculous.           You

           will     actually             owe        the     company                  money         for       being        there.        No    company            subsidized              insurance,

           premiums                are         100%         out       of pocket.              Terrible          benefits.           Jewish           employees            get    all    Jewish

           holidays             off.     Everyone               else     has         to work.



           Advice          to      Management



           Put     your         employees                  first.      Offer         better       benefits.             Offer       a better         pay     structure.          Stop

           penalizing              employees                  who        work           extra.         Try     open        and      honest           communication.




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           August         13,    2019    GLASSDOOR.COM




                  FLAT




                                  everyone"
           "Not          for




           Former        Employee        - Business      Development          Associate          in New              NY
                                                                                                            York,
           Doesn't          Recommend
           Neutral          Outlook
           No     opinion        of CEO



           I worked            at FlatRate      Moving        full-time     for   less    than     a year



           Pros



           Nice      office      setup   Breakfast       on     Thursdays



           Cons



           Very      poor       communication            from      management             Low      pay    poor      benefits   Quick-fire    culture




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           August               4, 2019          GLASSDOOR.COM




                   FLAT




                                                                                                              reviews."
           "Reality                     differs                  from             planted



           Former               Employee              - Driver         Foreman               in Bronx,         NY
           Doesn't              Recommend
           Neutral              Outlook
           Disapproves                    of CEO



           I worked                  at FlatRate            Moving               full-time             for    more            than      a year



           Pros



           Flatrate              has     a big         enough            budget              to plant         fake       reviews            about         itself          though       it cant      afford    to

           pay      its     NY employees                         for    ALL       hours          worked               or commissions                      earned.            Office      is so

           disconnected                        from      reailty         that         they       genuinly              avoid         even         basic      human            contact        with     their

           earners.              Great          environment                     for     other         species           like      dogs       or     insect         like     drones.         Fake,

           dishonest,                  and      not      loyal         to their          community                    that       they    explpoit            with          foul    business

           practices.                Awesome               for         money           hungry           scum           bags.


           Show           Less



           Cons



           None.          They          will      just     flood         this         with      fake         reviews           anyways.              Literally             hundreds          of former

           employees                   I meet          in the          industry              daily      are     all     liars.



           Advice               to    Management



           None.          You         think       you       are        doing          great          even      though            you     just       had      a massive             layoff       in NY and

           hired          all    new         people.         So stable.                Profits          might          be      consistant.            Thats          all    that      matters       right?




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